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                     UNITED STATES DISTRICT COURT FOR
                   THE EASTERN DISTRICT OF PENNSYLVANIA


JANET MONGE                            CIVIL ACTION
         Plaintiff,
                                       NO. 2:22-cv-02942
       v.
                                       JURY TRIAL DEMANDED
UNIVERSITY OF PENNSYLVANIA

And

AMY GUTMANN, WENDELL
PRITCHETT, KATHLEEN
MORRISON, & CHRISTOPHER
WOODS
in their individual capacities,

And

PAUL MITCHELL

And

BILLY PENN

And

MAYA KASUTTO
in her individual capacity

And

THE PHILADELPHIA INQUIRER,
PBC

And


ABDUL ALIY MUHAMMAD &
JENICE ARMSTRONG
in their individual capacities

And
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THE NEW YORKER

And

HEATHER ANN THOMPSON
in her individual capacity

And

ESPN, INC. d/b/a ANDSCAPE

And

NICOLE FROIO & LINN
WASHINGTON
in their individual capacities

And

THE AMERICAN
ANTHROPOLOGICAL
ASSOCIATION

And

THE GUARDIAN MEDIA GROUP
d/b/a THE GUARDIAN

And

ED PILKINGTON
in his individual capacity

And

DAILY MAIL AND GENERAL
TRUST, PLC d/b/a DAILY MAIL

And

ADAM SCHRADER
in his individual capacity

AND

SLATE


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AND

ELAIN AYERS
in her individual capacity

And

NYP HOLDINGS, INC. d/b/a NEW
YORK POST

And

JACKSON O’ BRYAN
in his individual capacity

And

TEEN VOGUE

And

EZRA LERNER
in his individual capacity

And

HYPERALLERGIC MEDIA

And

KINJAL DAVE & JAKE NUSSBAUM
in their individual capacities

And

NORA MCGREEVY
in her individual capacity


And

AL DIA NEWS

And



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 BRITTANY VALENTINE
 in her individual capacity

 And

 NEW YORK TIMES, CO.

 And

 MICHAEL LEVENSON
 in his individual capacity

 Defendants.


             SECOND AMENDED COMPLAINT – CIVIL ACTION

       Plaintiff, Janet Monge, Ph.D. (“Plaintiff” or “Dr. Monge”), by and through her

undersigned attorneys, Alan B. Epstein, Esquire and Spector Gadon Rosen Vinci, P.C., hereby

files this Second Amended Complaint, and in support thereof, avers as follows:

                                PRELIMINARY STATEMENT

       1.      Janet Monge has spent her entire career working for social justice by restoring

personhood to unidentified human remains – one of the most important aspects of her chosen

profession as a forensic physical/biological anthropologist.

       2.      Throughout her career, Dr. Monge has experienced success as a curator for the Penn

Museum, a professor and researcher in the Anthropology Department of the University of

Pennsylvania, and an expert consultant with the Philadelphia Medical Examiner’s Office, the

Philadelphia Defenders Association, and Federal Defender’s association, where she volunteered

to assist with criminal cases involving unidentified human remains.

       3.      Prior to Dr. Monge’s professional success, however, her former graduate school

professor and mentor, Alan Mann, Ph.D. (“Dr. Mann”), pulled her into what turned out to be one

of the most challenging cases of her career: the matter of the “Jane Doe” bone fragments removed

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by the City of Philadelphia from the site of the tragic 1985 incident in which City officials dropped

an aerial explosive on the home of its own citizens in one of the most horrific examples of

excessive force found in American history (the “Jane Doe Fragments”). The incident killed eleven

(11) persons (including five children) who were members of a group known as the MOVE family.

       4.      Initially as a graduate student and then over the course of her entire career, Dr.

Monge tried to identify the Jane Doe Fragments, which were never properly identified as belonging

to any member of the MOVE family, by conducting extensive research and even attempting to

contact known MOVE family members to gain their cooperation and conclusively identify the

remains as being any of the known victims of the MOVE bombing.

       5.      From the beginning, Dr. Monge had one goal in mind: make a proper identification

so the family of the unidentified decedent could pay their respects. Dr. Monge herself had nothing

but respect for the bone fragments she was attempting to identify, and she handled them with the

appropriate dignity and professional care always required from forensic anthropologists.

       6.      Despite the fact that Dr. Monge has always maintained the utmost respect for the

Jane Doe fragments and exhibited professional decorum throughout her attempts to identify those

remains, false, defamatory media reports widely disseminated in 2021 made Dr. Monge the victim

of brutal attacks on her personal and professional reputation.

       7.      These attacks were initiated by a current doctoral candidate at the University of

Pennsylvania, Paul Mitchell (“Mitchell”), solely for his own unlawful purposes and in pure

retaliation for Dr. Monge having previously reported Mitchell for unprofessional misconduct

affected by Mr. Mitchell and witnessed by Dr. Monge in her capacity as the curator of the Penn

Museum. Then, as fully discussed below, the remaining defendants named herein took steps to

legitimize and amplify Mitchell’s false, defamatory message – namely, the false statements and



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implications that Dr. Monge is a racist who engaged in callous actions that disrespected the

humanity of persons of African decent by mishandling the averred remains of two children who

died in the MOVE conflagration.

       8.      Mitchell first cooperated with his then-girlfriend, Maya Kasutto, a writer for the

Billy Penn, a 501(c)(3) broadcast media outlet. Ms. Kasutto, a former student of Dr. Monge’s with

her own grudge against the professor, was solicited by Mitchell to seek her aid in retaliating against

Dr. Monge. This retaliation resulted in a widely published article containing false, malicious, and

sensationalized allegations of racial bias about the investigatory process undertaken two respected

anthropologists, Drs. Mann and Monge.

       9.      The aforesaid article, based entirely on false and grossly misleading statements,

was published for the sole purpose of attacking Dr. Monge’s professional reputation as a forensic

physical/biological anthropologist by labeling her as a racially motivated bigot who had an

unlawful animus against persons of African decent.

       10.     The contents of Billy Penn article, and all its defamatory misstatements, were then

republished and embellished, in whole or in part, by individuals through several major media

outlets, including those named as Defendants herein, which resulted in great harm to Dr. Monge’s

reputation and employment as a forensic anthropologist, respected professor and museum curator,

and further caused her great economic harm.

       11.     Although Dr. Monge has never been found to have violated any professional,

ethical, or legal standards in her handling of the remains, reports published in the media repeated

the false and defamatory sentiments first published in the Billy Penn article, directly stating and

implying that Dr. Monge’s proper analysis that the Jane Doe Fragments are the bones of an




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unidentified adult human being somehow constituted inappropriate, unethical, and inhumane

behavior arising from racially motivated and insensitive animus.

       12.     Moreover, the published statements falsely accused, directly or by innuendo, Dr.

Monge of criminally violating the rights of one of the children who died in the bombing and

resulting fire, even though the bone fragments properly provided to and retained by Dr. Monge

were not related to that child identified in the defamatory reports.

       13.     The damage done by those false and defamatory statements and articles was then

further amplified by the University of Pennsylvania, who made statements, both to its own faculty

and to the public at large, that apologetically condemned the investigatory efforts of its employee

although Dr. Monge had done nothing wrong.

       14.     When these false statements were published, Defendants knew or should have

known from reasonable investigation that the statements being made were false or would wrongly

imply falsities about Dr. Monge.

       15.     Defendants published the defamatory statements in reckless disregard for the truth

of their statements for the purpose of gaining pageviews from the reading public, all emanating

from Defendant Kasutto’s false and defamatory statements in her article resulting from the actual

malice of Paul Mitchell.

       16.     As a result of these false and defamatory statements which have continued even

after the filing of this action, Dr. Monge’s reputation has been irreparably and wrongfully

destroyed, she has been the victim of adverse employment actions, and she has received

threatening emails and phone calls, including multiple death threats from persons in the general

public reacting to the remarks made by the Defendants in their published statements.




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       17.     Due to the Defendants’ individual and collective actions, Dr. Monge now seeks,

through this lawsuit, to recover economic and non-economic damages that have been directly

caused by the malicious and outrageous continuing defamatory actions of the defendants and to

obtain published retractions of the false statements and apologies for the harm they have caused to

attempt to restore her unblemished reputation existing before the false and defamatory statements

were published by the Defendant individually and collectively.

                                         THE PARTIES

Plaintiff, Janet Monge, Ph.D.

       18.     Plaintiff, Janet Monge, Ph.D., is an adult individual residing at 106 Federal Street,

Philadelphia, Pennsylvania 19147.

       19.     Dr. Monge received her bachelor’s degree in Anthropology from Pennsylvania

State University, graduating magna cum laude, and her Ph.D. in her chosen field of anthropology

from the University of Pennsylvania.

       20.     Since 2011 and before her recent demotion directly resulting from the actions of

the defendants, she had been a Keeper and Associate Curator of collections housed at the Penn

Museum and a Lecturer and Adjunct Professor employed by the Department of Anthropology of

the University of Pennsylvania.

       21.     Prior to the vicious attacks on her reputation, Dr. Monge was recognized as an

expert and scholar in her field and holds teaching awards in all categories for which she has been

eligible, including being awarded as being the “Best Museum Curator” by Philadelphia Magazine

in 2014.

       22.     Over her career, Dr. Monge has engaged in extensive research covering nearly the

entire spectrum of physical/biological anthropology and has volunteered her time as a forensic



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consultant for, inter alia, the Philadelphia Medical Examiner’s Office, Philadelphia Defender’s

Association, and Federal Defender’s Association.

Defendant, University of Pennsylvania

       23.     Defendant, University of Pennsylvania, is a privately held American Ivy League

research university located in Philadelphia, Pennsylvania. Its Office of General Counsel is located

at 2929 Walnut Street, Suite 400, Philadelphia, Pennsylvania 19104.

       24.     The University of Pennsylvania operates the University of Pennsylvania Museum

of Archaeology and Anthropology, commonly known as the “Penn Museum,” which is located on

its campus.

       25.     At all times applicable to the averments in this Complaint, the University of

Pennsylvania is and was Dr. Monge’s employer.

Defendant, Amy Gutmann

       26.     Defendant, Amy Gutmann, is an adult individual who, at all times applicable

hereto, was a resident of the Commonwealth of Pennsylvania employed by the University of

Pennsylvania and authorized to take action and make statements on its behalf. At all times

applicable hereto, Gutmann was the President of the University of Pennsylvania.

Defendant, Dr. Wendell Pritchett

       27.     Defendant, Wendell Pritchett, is an adult individual who, at all times applicable

hereto, was employed by the University of Pennsylvania and authorized to take action and make

statements on its behalf. At all times applicable hereto, Pritchett was the Provost of the University

of Pennsylvania.

Defendant, Kathleen Morrison




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       28.      Defendant, Kathleen Morrison, is an adult individual who, at all times applicable

hereto, was employed by the University of Pennsylvania and authorized to take actions and make

statements on its behalf. At all times applicable hereto, Morrison was and is the Chair of the

Anthropology Department at the University of Pennsylvania.

Defendant, Christopher Woods

       29.      Defendant, Christopher Woods, is an adult individual who, at all times applicable

hereto, was employed by the University of Pennsylvania and authorized to take actions and make

statements on its behalf. Appointed in 2021, Woods has, at all times applicable hereto, served as

the Director of the Penn Museum.

Defendant, Paul Mitchell

       30.      Defendant, Paul Mitchell, is an adult individual who, upon information and belief,

and at all times applicable to the allegations made herein resided at 511 N. Broad Street,

Philadelphia, Pennsylvania 19123 and is presently a doctoral candidate at the University of

Pennsylvania.

Defendant, Billy Penn

       31.      Defendant, Billy Penn, is a membership 501(c)(3) media organization associated

with and a program of WHYY Philadelphia, providing local Philadelphia news through the internet

with its principal place of business located at 150 N. 6th Street, Philadelphia, Pennsylvania 19106.

Defendant, Maya Kasutto

       32.      Defendant, Maya Kasutto, is an adult individual who, at all times applicable hereto,

was employed by Billy Penn and authorized to take actions and make statements on its behalf.

Upon information and belief, Kasutto was at all times applicable to the present Complaint and was

the current or former girlfriend of Defendant, Paul Mitchell.



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Defendant, Philadelphia Inquirer

       33.     Defendant, Philadelphia Inquirer, is a Delaware Public Benefit Corporation with its

principal place of business located at 801 Market Street, Suite 300, Philadelphia, Pennsylvania,

19107. It operates an internet-based news website as well as two newspapers serving the

Philadelphia region, and it published a defamatory article authored by Defendant Abdul Aliy-

Muhammad.

Defendant, Abdul Aliy-Muhammad

       34.     Defendant, Abdul Aliy-Muhammad, is an adult individual who, at all times

applicable hereto, was a writer for Philadelphia Inquirer, which published his false, defamatory

statements about Dr. Monge. He currently is the recipient with Defendant Jake Nussbaum of a

grant sponsored by the University of Pennsylvania School of Arts and Sciences that will allow him

to continue to disseminate misinformation regarding the actions of Dr. Monge and continue the

defamatory attacks on Dr. Monge.

Defendant, Jenice Armstrong

       35.     Defendant, Jenice Armstrong, is an adult individual who, at all times applicable

hereto, was also employed as an author by Philadelphia Inquirer, which published her defamatory

statements about Dr. Monge.

Defendant, The New Yorker Magazine

       36.     Defendant, The New Yorker Magazine, is a business entity with its principal place

of business located at 1 World Trade Center, New York, New York 10007. It is an incorporated

magazine entity published by Conde Nast providing news and commentary on politics, global

affairs, business, technology, pop culture, and the arts. The New Yorker publishes articles on its




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website and in paper form, disseminated and is accessible anywhere in the United States, including

Pennsylvania.

Defendant, Heather Ann Thompson

       37.      Defendant, Heather Ann Thompson, is an adult individual who, at all times

applicable hereto, was employed by the New Yorker and authorized to make statements through

dissemination in paper form and on the magazine’s website.

Defendant, ESPN, Inc.

       38.      Defendant, ESPN, Inc., is a Connecticut corporation with its principal place of

business located at 545 Middle Street, Bristol, Connecticut 06010. ESPN operates Andscape, a

popular sports and pop culture website that seeks to explore the intersections of race, sports, and

culture. Andscape publishes articles on its website, which is accessible anywhere in the United

States, including Pennsylvania.

Defendant, Nicole Froio

       39.      Defendant, Nicole Froio, is an adult individual who, at all times applicable hereto,

was employed by Andscape and authorized to take actions and make statements on its behalf.

Defendant, American Anthropological Association (“AAA”)

       40.      Defendant, American Anthropological Association (“AAA”), is a business entity

filed in the District of Columbia with its principal place of business located at 2300 Clarendon

Boulevard, Suite 1301, Arlington, Virginia 22201. It is the world’s largest scholarly and

professional organization of anthropologists.

Defendant, The Association of Black Anthropologists

       41.      The Association of Black Anthropologists operates as one of the AAA’s forty (40)

distinct membership sections with a stated goal of bringing Black anthropologists together to create



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scholarship linking anthropological theory to struggles for social justice for persons of Africa

decent.

Defendant, The Guardian Media Group

          42.   Defendant, The Guardian Media Group, is a public limited company organized in

England. It has a United States Headquarters and principal place of business located at 61

Broadway, New York, New York 10006. The Guardian Media Group owns and operates The

Guardian, a British national daily newspaper with a United States news website and digital edition.

The website and digital edition are disseminated to and accessible from anywhere in the United

States, including Pennsylvania.

Defendant, Ed Pilkington

          43.   Defendant, Ed Pilkington is an adult individual who, at all times applicable hereto,

was employed by the Guardian and authorized to make statements in its publications.

Defendant, Daily Mail and General Trust, PLC

          44.   Defendant, Daily Mail and General Trust, PLC, is a public limited company

organized in England. It has a United States Headquarters and principal place of business located

at 51 Astor Place, New York, New York 10003. Daily Mail and General Trust operates Daily Mail,

a British middle-market daily newspaper with a news website is disseminated to and accessible

from anywhere in the United States, including Pennsylvania.

Defendant, Adam Schrader

          45.   Defendant, Adam Schrader, is an adult individual who, at all times applicable

hereto, was employed by Daily Mail and authorized to make statements in the paper and on the

website maintained by the Daily Mail and General Trust, PLC.

Defendant, Slate



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       46.     Defendant, Slate, is a Delaware corporate entity with its principal place of business

located at 15 Metrotech Center, 8th Floor, Brooklyn, New York 11201. It is a progressive online

magazine covering current affairs, politics, and culture in the United States. It publishes materials

on its website, which is accessible anywhere in the United States, including Pennsylvania.

Defendant, Elaine Ayers

       47.     Defendant, Elaine Ayers, is an adult individual who, at all times applicable hereto,

was employed by Slate and authorized to make statements by Defendant Slate in Defendant Slate’s

online magazine.

Defendant, NYP Holdings, Inc.

       48.     Defendant, NYP Holdings, Inc., is a Delaware corporation with its principal place

of business located at 1211 Avenue of the Americas, New York, New York 10036. It operates the

New York Post, a conservative daily tabloid newspaper published in New York City. The New

York Post also has a digital edition and news website, which is accessible anywhere in the United

States, including Pennsylvania.



Defendant, Jackson O’Bryan

       49.     Defendant, Jackson O’Bryan, is an adult individual who, at all times applicable

hereto, was employed by the New York Post and authorized to make statements on and in the

newspaper and the digital and news website.

Defendant, Teen Vogue

       50.     Defendant, Teen Vogue, is a magazine publisher with its principal place of business

located at 1 World Trade Center, New York, New York 10007. It operates an American online

publication targeting teenagers, and it offers information about the latest entertainment and feature



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stories on current issues and events. Teen Vogue publishes articles on its website, which is

accessible anywhere in the United States, including Pennsylvania.

Defendant, Ezra Lerner

       51.     Defendant, Ezra Lerner, is an adult individual who, at all times applicable hereto,

was employed by Teen Vogue and authorized to make statements on its widely disseminated

website.

Defendant, Hyperallergic Media

       52.     Defendant, Hyperallergic Media, is a New York corporation with its principal place

of business located at 181 North 11th Street, Suite 302, Brooklyn, New York 11211. It operates

Hyperallergic, an online arts and current events magazine. Hyperallergic publishes articles on its

website that are accessible from anywhere in the United States, including Pennsylvania.

Defendant, Kinjal Dave

       53.     Defendant, Kinjal Dave, is an adult individual who, at all times applicable hereto,

was employed by Hyperallergic and authorized to make statements in its online publication. Dave

is also a doctoral student at the University of Pennsylvania’s Annenberg School for

Communications.

Defendant, Jake Nussbaum

       54.     Defendant, Jake Nussbaum, is an adult individual who, at all times applicable

hereto, was employed by Hyperallergic and authorized to make statements on its website.

Nussbaum is a Ph.D. candidate in anthropology at the University of Pennsylvania. He currently is

the recipient with Defendant Abdul Aliy-Muhammad of a grant sponsored by the University of

Pennsylvania School of Arts and Sciences that will allow him to continue disseminating




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misinformation regarding the actions of Dr. Monge and continue the defamatory attacks on Dr.

Monge.

Defendant, Nora McGreevy

       55.     Defendant, Nora McGreevy, is an adult individual residing at 5826 N. Wayne Ave.,

Apt. 2, Chicago, Illinois 60660. At all times applicable hereto, she was a freelance writer working

for various news and media outlets, including the Smithsonian Magazine. She focuses her writing

on the arts, astronomy, history, and academic research. McGreevy is presently a full-time

employee of the Princeton University Art Museum, located at 22 Chambers Street, Suite 101,

Princeton, New Jersey 08542.

Defendant, Al Dia News

       56.     Defendant, Al Dia News, is a Pennsylvania corporation with its principal place of

business located at 1835 Market Street, 4th Floor, Philadelphia, Pennsylvania 19103. It is a media

company that focuses on the Latino experience in the United States. The articles posted on its

website are accessible anywhere in the United States, including Pennsylvania.

Defendant, Brittany Valentine

       57.     Defendant, Brittany Valentine, is an adult individual who, at all times applicable

hereto, was employed by Al Día News and authorized to make statements on the website of

Defendant Al Dia News.

Defendant, New York Times Co.

       58.     Defendant, New York Times Co., is a New York corporation with its principal

place of business located at 620 8th Avenue, New York, New York 10018. It operates one of the

top American daily newspapers with a wide international audience. The New York Times




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publishes articles on its website, which is accessible anywhere in the United States, including

Pennsylvania.

Defendant, Michael Levenson

        59.        Defendant, Michael Levenson, is an adult individual who, at all times applicable

hereto, was employed by the New York Times and authorized to make statements on its behalf on

its website.

                                    JURISDICTION AND VENUE

        60.        Subject matter jurisdiction over the Defendants with respect to these claims

and causes of action is conferred upon this Court pursuant to 28 U.S.C. § 1332, and pursuant

to the Court’s supplemental jurisdiction 28 U.S.C. § 1367, and it has personal jurisdiction over

the Defendants because they either live in Pennsylvania, are incorporated in Pennsylvania, or

carry out a continuous and systematic part of their general business within the

Commonwealth.1

        61.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because Plaintiff resides

in Philadelphia County, and the transactions and occurrences at issue, out of which the within

causes of action arise, took place in Philadelphia County, causing the resulting harms suffered by

Plaintiff there.



                                                 FACTS

        A.         The MOVE Bombing Shocks Philadelphia, And Dr. Monge Is Pulled Into
                   The Investigation Of Bones Removed From The Bomb Site

                   1.     The MOVE Family



1
 Jurisdiction has already been accepted by the Court during the pendency of the Defendants’
prior Motions to Dismiss Plaintiff’s Complaint.

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         62.     In 1972, Vincent Leaphart founded the “Christian Action Life Movement,” an

organization which later become known as the MOVE family. When doing so, he adopted the

name “John Africa” to pay homage to the continent, which he believed was the mother continent

of all life. Like the organization’s founder, all MOVE members have changed their surname to

“Africa”.

         63.     The MOVE organization considers itself “a family of strong, serious, deeply

committed revolutionaries founded by a wise, perceptive, strategically minded Black man named

John Africa.”2

         64.     The MOVE Commission Report published after the 1985 MOVE bombing

described MOVE as “a small group of self-styled back-to-nature, anti-technology, anti-social

advocates,” and opined that MOVE “came to reject and to place themselves above the laws,

customs, and social contracts of society” by “threatening “violence to anyone who would attempt

to enforce normal societal rules.”3

         65.     MOVE philosophies include a love of animals and the rejection of cooked and

processed foods, which requires a diet of only raw meat, vegetables, and fruit. MOVE members

rejected all modern technology and medicine, as well as normal societal norms. These practices

were instituted at all of MOVE’s properties, including its primary residence in Philadelphia and

properties in Richmond, Virginia and Rochester, New York.




2
    The Website On a Move, “About Move: Belief and Practice,” (http://onamove.com/about/).
3
 The Findings, Conclusions, and Recommendations of the Philadelphia Special Investigation
Commission, 59 Temp. L.Q. 339, 345 (1986) (“MOVE Commission Report”).

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       66.     Throughout its existence, members of MOVE have seen themselves as the target of

unwarranted and unlawful discrimination, harassment, and treatment by law enforcement, the

courts, and other regulatory agencies.

               2.       The MOVE Bombing

       67.     In 1983, Philadelphia members of the MOVE organization took residence in a

house at 6221 Osage Avenue, Philadelphia, Pennsylvania, in the predominantly Black

neighborhood of Cobbs Creek, Philadelphia.

       68.     Shortly thereafter, tensions began to mount between MOVE and their neighbors,

and the other racial minority members of Cobbs Creek formed the “United Residents of the 6200

Block of Osage Avenue” (“United Residents”) to protest MOVE’s presence in their neighborhood.

       69.     United Residents made several complaints to the Philadelphia police, who had had

their own prior conflicts with MOVE, and Philadelphia Mayor Wilson Good decided something

needed to be done; so, he met with high-ranking members of the Philadelphia Police Department

and District Attorney’s Office to create a tactical plan regarding the MOVE organization.

       70.     On May 12, 1985, a Philadelphia Court of Common Pleas judge approved requests

for search and arrest warrants for certain MOVE members, and Philadelphia police evacuated the

Osage Avenue neighborhood for the warrants to be executed.

       71.     In the early morning hours of May 13, 1985, with the Osage Avenue block secured,

the Police Commissioner announced over a bullhorn that four people inside 6221 Osage Avenue

were named in arrest warrants, giving them fifteen minutes to surrender to the police authorities

present at the scene.

       72.     The MOVE members responded over a loudspeaker, announcing that they would

not be surrendering. Shortly thereafter, the police began untenably firing high-pressured water,



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tear gas, and smoke projectiles at the front and rear of the house, ultimately firing over 10,000

rounds of live ammunition into the MOVE compound.

         73.    At 3:45 PM, after the police made no progress in removing the MOVE members

from their home, Philadelphia Mayor W. Wilson Goode, a City politician of African American

descent, announced at a televised press conference that he planned to seize control of the MOVE

house by “any means necessary,” and then approved the dropping of an aerial bomb on the

occupied property from a helicopter.4

         74.    The police dropped the aerial bomb via helicopter on the MOVE house at 5:30 p.m.,

and when the house burst into flames, the Police and Fire Commissioners decided to let it burn for

several hours rather than extinguishing it immediately. This decision allowed the uncontrolled

fired to spread to other houses on the block, and by the time the Fire Department was able to

extinguish the fire at 11:41 p.m., it had already destroyed the MOVE house and the six homes

adjoining it on Osage Avenue and Pine Street, along with causing severe fire damage to at least

another 100 homes.

         75.    Eleven (11) MOVE members were killed during the bombing, presumed to consist

of six (6) adults and five (5) children.

         76.    Despite the actions of Mayor Goode’s administration being irrefutably improper

and horrifying, those responsible for the siege on the MOVE compound never faced any

consequences for their actions.



                3.      The City of Philadelphia’s Processing of the MOVE Bomb
                        Site




4
    MOVE Commission Report, at 349.

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       77.        Once the fire was extinguished, attention turned to processing the MOVE bomb site

and any evidence that remained.

       78.        Unfortunately, the City’s processing of the site was a complete debacle; forensic

analysis of the bomb site was already complicated by the fire’s temperature of more than 2,000

degrees Fahrenheit, which effectively reduced the bomb site and surrounding area to debris,

rubble, and dust, and the Philadelphia Medical Examiner’s Office exacerbated these difficulties by

their inaction – their representatives refused to go to the bomb site until after the first body was

discovered well into the day after the bombing, May 14, 1985.

       79.        By the time the Medical Examiner’s representatives arrived at the scene, the City

had already begun using cranes and other inappropriate bulk construction equipment to remove

fire debris including the body parts of the individuals who had died in the conflagration, thereby

damaging those remains.

       80.        Those actions caused a professional collection and damaging of valuable evidence

related to the remains of the individuals who had died in the bombing and fire, with no

identification of location or position at the scene. These actions were contrary to proper and

standard crime scene procedures since there was no systematic procedure for recording evidence

and no proper control over the physical remains of the date. Moreover, required lateral x-rays and

toxicology tests of the remains were not taken.

       81.        The City’s initial failure in appropriately processing the MOVE site set the stage

for the severe difficulties faced by the anthropologists tasked with identifying the remains removed

from the site.5



5
  Beyond the difficulties caused by the City’s inappropriate site processing, it is important to note
that the field of forensic anthropology is itself oftentimes a Sisyphean pursuit. All forensic
anthropologists have cases from their past that they cannot resolve, mainly because the methods

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                4.      Dr. Monge’s Involvement In Analyzing Bones Removed
                        From The MOVE Bomb Site And Disagreement Over The
                        Identification of the Remains

        82.     The City’s failures caused by its unprofessional, hasty actions in removing the

spector of the City’s murder of the MOVE individuals prompted then Chief Medical Examiner,

Dr. Marvin Aronson, to invite Dr. Alan Mann, professor in the Department of Anthropology at the

University of Pennsylvania who possessed the necessary expertise in identifying bone fragments,

to assist with the identification of the individuals killed in the fire.

        83.     Dr. Mann in turn tasked his then doctoral student, Dr. Monge, with assisting him

with the analysis of the disassociated bone fragments removed from the bomb site.

        84.     Since none of the skeletal remains at the site were intact or complete, Dr. Mann and

Dr. Monge began sorting recovered bone fragments based on age profiles.

        85.     During this investigation, their examination of a certain pelvis bone and proximal

femur bone fragments revealed that those remains did not conform to any of the ages of the MOVE

individuals presumed to have been killed in the bombing and subsequent fire.

        86.     Specifically, they noted that those particular bone fragments were clearly the

remains from a young adult female, likely between the ages of 17 and 21 and were not the

fragments of bones from the oldest child thought to be in the MOVE house at the time of the

bombing and fire, a 14-year-old girl named Katricia (Tree) Africa.

        87.     Since the remains did not match the ages of any MOVE members, Dr. Mann and

Dr. Monge considered the bones to be unaffiliated with any of the known MOVE victims and

thereafter referred to by them as Jane Doe.




used have a 10% to 20% efficacy rate in fully identifying the human whose remains are being
studied.

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       88.     But because Dr. Mann’s and Dr. Monge’s findings put the City at risk of liability

for murdering not only members of the MOVE organization, but also unsuspecting neighbors that

were unrelated to the incident, the City refused to accept those findings.

       89.     Instead, the City appointed MOVE Commission investigating the bombing and

subsequent excavation established its own outside pathology group led by pathologist Ali Hameli,

M.D. to identify the remains of the victims in a way that would limit the City’s liability. That group

did not include Dr. Mann or Dr. Monge or rely on their findings.

       90.     In a flawed report calculated to support any inference that the bombing may have

killed persons not part of the MOVE family without any input of Drs. Mann and Monge, Dr.

Hameli wrongly and unscientifically stated that the Jane Doe pelvis and femur fragments were

associated with the 14-year old Katricia “Tree” Africa (Dodson) (“Katricia”).

       91.     After receiving the Commission’s recommendation, Dr. Mann conducted a second

investigation and issued a report reaffirming Dr. Monge’s and his conclusion that the pelvis and

proximal femur fragments were not the bone fragments from Katricia, conclusions that were later

confirmed by at least seven different forensic anthropologists.

       92.     But due to the conflicting conclusion improperly reached by Dr. Hameli, the

Philadelphia Medical Examiner’s Office sought to further identify the Jane Doe fragments, and it

provided those bone fragments to Dr. Mann to allow him to continue his analysis in his lab at the

Penn Museum with Dr. Monge’s assistance.

       93.     On December 14, 1985, the remains conclusively identified as belonging to Katricia

Africa were buried after their release to Hankins Funeral Home.

               5.      The Handling And Storage of The Jane Doe Fragments
                       Removed From The MOVE Bomb Site And Dr. Monge’s
                       First Attempt To Return The Unidentified Remains



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       94.     From 1986 to 2001, the bone fragments, which had still not been conclusively

identified to any known individual, were stored in Dr. Mann’s Office in the physical anthropology

section of the Penn Museum in strict compliance with standard forensic best practices. All storage

boxes were made from cardboard and lined with cotton fiber for absorbency to properly preserve

the remains which had small areas of tissue attached. The Jane Doe Fragments were also safely

wrapped in bubble wrap to further protect them and kept in a secured and locked room, which was

only accessible to curators of the Physical Anthropology section of the Penn Museum.6

       95.     In her effort to continue the investigation, in 1995, Dr. Monge sought out contact

with one of the surviving MOVE members Ramona Africa (who had just been released from a

long prison sentence) with the hope of gaining her assistance in ascertaining the identity of the

older woman whose bone fragments had been retained in safe and appropriate storage at the

museum. Ramona Africa declined Dr. Monge’s overtures, and the Jane Doe Fragments remained

in safe storage at the Museum.



               6.      Dr. Mann Leaves To Join Princeton’s Anthropology
                       Department, But The Unidentified Fragments Stay At
                       Penn

       96.     In 2001, Dr. Mann left Penn to join the Anthropology Department at Princeton

University as a full-time faculty member. At that time, Dr. Monge inherited the task of storing and

preserving of the Jane Doe Fragments as The Keeper and Curator of the Physical Anthropology

section of the Penn Museum.




6
 To access the room, an individual would have to walk through three (3) security doors controlled
by UPenn ID cards and sign in to the lab. At all times applicable to this matter, the lab was always
monitored with security cameras.

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       97.     When Dr. Mann joined Princeton’s Anthropology Department as the only

biological anthropologist on the faculty, he required teaching support to complete his duties and

once again solicited his former graduate student Dr. Monge to assist him with his courses at

Princeton in the same way she had when he was a Professor at Penn.

       98.     When Dr. Mann left his position at the University of Pennsylvania, the Jane Doe

fragments remained in safe storage at the Penn Museum due to Penn’s superior facilities for

forensic analysis and its access to a medical school that could provide CT scans and other testing

technologies to assist with any further analysis. The storage protocol for the fragments did not

change at any time.

       99.     From 2001 to 2015 (when Dr. Mann retired), Dr. Monge brought the Jane Doe

fragments to Princeton’s campus for further investigation of their source between two and five

times. These transfers were conducted for the purpose of having other anthropologists, who were

visiting Princeton, to review them and provide their analysis, and they were conducted in strict

accordance with chain of custody protocols. Throughout the aforesaid process, the bone fragments

were always well-protected and safely stored.




               7.      Monge’s Renewed Attempts To Identify The Remains

       100.    In 2014, the Penn Museum renovated the lab in its physical anthropology

department, which provided Dr. Monge with the latest scientific technologies and capabilities for

the identification of bone fragments.

       101.    Shortly thereafter, Dr. Monge began working with a geneticist from another leading

research university on a number of research projects, and the two discussed the possibility of using



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then just recently developed DNA analysis technology to identify the Jane Doe fragments through

relatives of the deceased.

       102.    That DNA analysis would have required a DNA sample from a relative of Katricia

to show that there was no relationship to Katricia but rather were fragments of bone from another

older female. In order to conclusively rule out the Katricia’s relationship, Dr. Monge sought to

contact the MOVE family – specifically Katricia’s mother, Consuella Dodson who had also just

been released from jail – to ask for a sample of her DNA or the DNA of other relatives through a

local writer, Malcom Burnley (“Burnley”).

       103.    Despite multiple efforts to communicate with Consuella, Burnley was unable to

have a meaningful conversation with her, and Dr. Monge failed to retrieve a DNA sample from

any of Katricia’s relatives. So, despite her continued interest in restoring humanity to the

unidentified bone fragments, Dr. Monge was forced to label the case “cold” and accept that it was

unlikely she would ever be able to conclusively identify the source of the fragments.

       104.    Burnley reached out to Dr. Monge again four years later in December 2018 to see

if she would be interested in taking any further action in the identification process.

       105.    Although Dr. Monge had already considered the case “cold,” she and Mr. Burnley

briefly continued to discuss further investigation but ultimately determined that they would not be

able to secure any help from the MOVE family members and declared the end of their efforts to

identify the person whose bone fragments had been retained and carefully preserved over those

many years.

               8.      “Real Bones: Adventures in Forensic Anthropology,” The
                       Princeton Coursera Course

       106.    Although Dr. Mann retired from the Princeton faculty in 2015, Dr. Monge remained

to serve Princeton University as a Visiting Professor and Lecturer.


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        107.     In 2017 and 2018, Dr. Monge was approached by Dr. Carolyn Rouse, the Chair of

Princeton’s Anthropology Department, and Dr. Jeffrey Himpele, another Princeton anthropology

professor, regarding the creation of an online course on Forensic Anthropology that would utilize

videos that Drs. Monge and Himpele were already planning to make for an upper-level

anthropology course they were teaching together.

        108.     In furtherance of that effort in 2019, a discussion ensued regarding the use of the

Jane Doe fragments – which had already been declared a “cold” case – to address the difficulties

that forensic anthropologists face when identifying remains.

        109.     The discussions regarding the online course ultimately resulted in the MOOC,

“Real Bones: Adventures in Forensic Anthropology,” which was published on the Coursera online

platform.

        110.     Coursera is an online platform that works with universities and other academic and

professional organizations to create online courses and certificate programs in a wide array of

subjects. Notably, these courses are not mass-broadcasted, and any individual interested in viewing

a course’s content must sign up for a Coursera account, browse the Coursera course selection, and

specifically enroll in a particular online course to gain access to its contents. Coursera does not

pay its course creating partners any money, and Dr. Monge did not profit in any way from the

production of “Real Bones: Adventures in Forensic Anthropology.”

        111.     The course was designed to discuss forensic anthropology using real world

examples, with an overall purpose of teaching how forensic anthropology can be used to restore

the personhood of individuals unidentified through the scientific investigation of boney remains.

It featured eleven sessions – seven recorded in a studio and four recorded at the Penn Museum in

the lab facilities.



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       112.    The first two classes, titled “Losing Personhood: MOVE A Case Study” and

“Restoring Personhood” respectively, described the MOVE organization and discussed the history

of the MOVE Bombing before explaining the gross, inappropriate excavation of the bomb site and

displaying slides of the unidentified Jane Doe Fragments pulled from the wreckage.

       113.    Other classes were titled “Tools of the Trade,” “Bone: The Basics,” “How Bones

Grow and Develop,” “Dental and Hand-Wrist Standards,” “Aging Dentition,” and “Gross

Morphology,” and the one and only time the Jane Doe fragments were displayed in the course

occurred in the ninth class, titled “MOVE – An Analysis of the Remains”. In that 14-minute class,

Dr. Monge can be seen in the Penn Museum’s lab with one of her students and the Jane Doe

fragments comparing those fragments to other similar bone fragments and models for comparison

and explaining how forensic techniques could be used to determine the age of the remains.

       114.    At all times during the video, both Dr. Monge and her student properly,

scientifically, and discreetly handled the remains, utilizing rubber gloves and observing all

appropriate protocols.

       115.    The discussion involved only the process utilized in providing the age estimate of

the person from whom the fragments originated with Dr. Monge explaining that, despite her

diligence, the human source of the fragments had never capable of identification.

       116.    “Real Bones: Adventures in Forensic Anthropology” was published in August 2020

and available for almost a year without any controversy or complaint. During that timeframe, it

was viewed by a very limited audience of academic-minded individuals seeking to learn more

about forensic anthropology.

       117.    The course was never broadcast to the public at large and only 450 persons watched

all or some of the online course segments. It was only after Paul Mitchell began his deliberate,



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retaliatory, and self-elevating smear campaign against Dr. Monge that the matter became a public

controversy causing Corsera to shut it down.

       B.      Monge Becomes Paul Mitchell’s Mentor, Helps Bring Him
               Back To The University of Pennsylvania

       118.    Dr. Monge first met Defendant, Paul Mitchell (“Mitchell”), when he came to the

University of Pennsylvania as an undergraduate student in the Anthropology Department in 2009.

Mitchell would later receive both his bachelor’s degree (2013) and master’s degree (2014) from

the University of Pennsylvania.

       119.    Throughout his tenure at the University, Mitchell took several courses from Dr.

Monge, and she was the advisor for his master’s thesis.

       120.    After graduating from Penn with a master’s degree, Mr. Mitchell was enrolled in a

doctoral program at the University of California at Berkeley, but shortly after matriculating there,

he was accused of professional misconduct related to allegations of plagiarism and was removed

from the program.

       121.    With nowhere else to go, Mitchell reached back out to his previous advisor, Dr.

Monge, who, in turn, worked with Penn’s Anthropology Department to allow Mitchell to transfer

and earn his doctorate degree at Penn.

       122.    Mitchell’s doctoral work at Penn was focused on the Samuel G. Morton Cranial

Collection, a collection of almost one thousand skulls located at the Penn Museum – more

specifically, Mitchell became concentrated on Morton’s scientific methodology and the racial and

social implications of his work.

       123.    However, on information and belief, mirroring his improper actions at Berkely,

Mitchell began engaging in further misconduct by, inter alia:

            a. Defacing Penn Museum lab books;


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            b. Tearing pages from the equipment used to catalogue entries for the lab’s micro-CT
               scanner;
            c. Engaging in published plagiarism;
            d. Improperly accessing the lab with his friends to inappropriately explore with them
               the bones and bone fragments stored at the lab for educational purposes;
            e. Illegally duplicating the keys to Dr. Monge’s office space and adjacent storages
               space and using his unlawful access to remove certain stored remains, including but
               not limited to the remains of famous Chicago serial killer, H.H. Holmes; and
            f. Stealing DNA samples and other forensic materials without authorization.

       124.    Once she discovered those actions by Mitchell, and as part of her duties at the

Museum, Dr. Monge reported all these unlawful and disturbing activities to Penn Museum Security

and Administrators, along with Dr. Kathleen Morrison, Chair of Penn’s Anthropology Section.

Despite these well-founded allegations backed by objective evidence, Penn and its Administrators

took no actions to punish Mitchell for or deter him from his continued unlawful actions.

       125.    Dr. Monge’s allegations became the subject of a confrontation by Mitchell of her

in the presence of several witnesses in May 2019, in which Mitchell began screaming at her,

throwing objects in her direction, slamming his fists down on tables, and threatening Dr. Monge,

who became terrified by his comments and actions. Dr. Monge immediately filed a report with the

Museum’s administration due to the threatening and unpredictable behavior Mitchell exhibited.

Once again, Penn and its Administrators did nothing.

       126.    Fearing for the safety of the equipment and remains she had been tasked with

protecting, along with her own safety and wellbeing, Dr. Monge also changed the locks in the

Museum and the Lab, and she denied Mitchell any further, unsupervised access to the Physical

Anthropology collections at the Penn Museum. It is these final actions that, while all well within

Dr. Monge’s rights, gave rise to the vengeful, malicious actions that Mitchell took next.

       C.      Mitchell’s Grudge, The Media Firestorm It Created, And
               The Dismantling of Dr. Monge’s Reputation




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       127.       Mitchell’s malicious actions first began in early April 2021, when he met with

Christopher Woods, the then-new Director of the Penn Museum, to accuse (without any

foundation) Dr. Monge of mishandling the unidentified bone fragments and engaging in other

professional misconduct in reference to the issue of the MOVE bombing investigation. He further

expressed concerns over the Penn Museum’s policies on the handling of remains, including the

unidentified bone fragments from the MOVE site, and unfairly and defamatorily accused Dr.

Monge of lacking professionalism in connection with the Coursera course.

       128.       Then, fearing that his unfounded allegations against Dr. Monge would not bear the

disciplinary result he intended against her, he instigated the first article regarding the unidentified

bones by contacting his then-girlfriend, Defendant Maya Kasutto, a writer for Defendant Billy

Penn who harbored her own grudge against Dr. Monge, to discuss his unfounded and untruthful

accusations against Dr. Monge.

       129.       Kasutto was a fellow Penn graduate, initially studying biological anthropology but

ultimately receiving her undergraduate degree in cultural anthropology and creative writing from

the University.

       130.       Like Mitchell, Kasutto also had help from Dr. Monge in matriculating at Penn, and

had looked to Dr. Monge as a mentor while a biological anthropology student. However, their

relationship soured when Kasutto left the biological anthropology program, and Dr. Monge was

forced to revoke her ability to work with remains in the Physical Anthropology section of the Penn

Museum for her senior thesis.

       131.       Aligned against their common target, Kasutto and Mitchell determined they could

harm Dr. Monge, while elevating their own careers, by spearheading a “Cancel Culture”

movement against Dr. Monge. To do so, they would declare she harbors racist animus against



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persons of African descent even though they knew she had spent her entire career seeking to bring

respect and humanity to identify remains of persons of all races.

       132.    On April 21, 2021, Defendant Billy Penn published an online article written by

Maya Kasutto titled “Remains of Children Killed in MOVE Bombing Sat in a Box at Penn

Museum for Decades”. A copy of that article is attached hereto as Exhibit “A.” Despite only

Kasutto’s name being supplied as the author of the article, all of the false and defamatory

information contained therein was supplied by Mitchell, and Kasutto used it for the sole purpose

of fostering sentiments against their former mentor and boosting their own credentials.

       133.    In the article, Kasutto knowingly made the false assertion that the unidentified

fragments were conclusively established to be the remains of Katricia Africa, and she further

implied serious and criminal scientific misconduct by Dr. Monge in her retention and handling of

the Jane Doe Fragments, defaming Dr. Monge as a “chipper science” teacher who used the remains

of a black girl as “props” out of disrespect for this young black woman.

       134.    Even worse, Kasutto explicitly insinuated a racist motive for Dr. Monge’s retention

and investigation of the bone fragments by calling back to the City’s horrific actions during the

1985 MOVE bombing itself:

          “The absence of ethics, void of communication, and abdication of
          responsibility regarding these remains mirror the circumstances that led to
          the 1985 disaster.”

       135.    At the suggestion of Paul Mitchell, on that same day, another of Mitchell’s close

associates, Abdul-Aliy Muhammad, published an article in the Philadelphia Inquirer titled “Penn

Owes Reparations for Previously Holding Remains of a MOVE Bombing Victim”. A copy of that

article is attached hereto as Exhibit “B.”




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        136.    Like Kasutto’s polemic, Muhammad’s article was also based almost entirely on the

false, defamatory narrative that Mitchell had created to “cancel” Dr. Monge. It conclusively

asserted that the unidentified bone fragments were the remains of the two of the black children

who died in the tragic bombing and fire – Katricia and Delisha Africa – and it further asserted that

Dr. Monge “mishandled” the unidentified bone fragments, implying that she acted

unprofessionally and with racial animus. Muhammad then called upon the Penn Museum and

University of Pennsylvania to apologize for Dr. Monge’s “unethical possession” of the bone

fragments, characterizing her handling of them as an “egregious act.”

        137.    Both of these slanderous writings were disseminated broadly and were intended by

the authors to reflect Mitchell’s false reality wherein Dr. Monge was an unethical racist who should

not be holding a responsible position in academia.

        138.    Believing that falsities planted in local Philadelphia news outlets would be too

small in scope to punish Dr. Monge enough for the perceived wrongs she had done to him, Mitchell

then prepared his own paper on the handling and identity of the remains removed from the MOVE

site, arguing without foundation that the remains are indisputably those of Katricia and Delisha

Africa. He widely distributed this paper to Penn employees, MOVE members, and several larger

media outlets with the hopes of lending further credibility to the false stories his associates had

published and broadening the reach of his lies against Dr. Monge.

        139.    Mitchell’s plan was to create a Hobson’s choice for Dr. Monge’s employer, the

University of Pennsylvania, news outlets around the world, and the general public at large: either

to (1) accept Mitchell’s false narrative and cast Dr. Monge out as an unethical racist whose work

cannot be trusted; or (2) to fight his false narrative and risk being labeled as a racist publisher itself




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for defending her. Each of the Defendants chose the former alternative in order to avoid the latter

and risk a loss of readership.

       140.    On April 23, 2023, three major media outlets picked up the story and published

their own blatantly false, defamatory narratives:

       (a)     The Daily Mail published an article on its website authored by Adam Schrader,

titled “They Are Juicy’: Princeton Professor is Slammed for Disrespecting the Bones of a 14-year

Old Black Girl Killed by a Bomb Dropped by Philadelphia Police in 1985 After Members of Her

Commune Fired at Cops.” A copy of that article is attached hereto as Exhibit “C.” The author of

that article falsely avers that the remains were bones of a “black child killed in a 1985 police

bombing” and it further condemned Dr. Monge’s use of the word “juicy” in the Coursera video,

implying that such a word carries racial undertones when in fact it is an anthropological term of

art indicating the preserved status of bones and bone fragments;

       (b)     The Guardian published an article titled ““Bones of Black children killed in police

bombing used in Ivy League anthropology course,” by Ed Pilkington. A copy of that article is

attached hereto as Exhibit “D.” That article also falsely averred that the bone fragment remains

are “almost certainly those of the older MOVE girls who died” and implied scientific impropriety

and racist-fueled misconduct regarding Dr. Monge’s actions and statements. It also took issue with

Dr. Monge’s use of the words “juicy” and “greasy,” suggesting those words carry disrespectful

racial undertones when in fact they are anthropological terms of art; and

       (c)     The New York Post published an article authored by Jackson O’Bryan titled

“Remains of Black Teen Killed in Philadelphia Police Bombing Used in Online Class.” A copy of

this article is attached hereto as Exhibit “E.” That article also implied a racist animus for Dr.

Monge’s actions and statements:



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          “The bones of at least one black teenager killed in the 1985 police bombing
          in Philadelphia are being used as a ‘case study’ in an online anthropology
          course — taught by an Ivy League professor who called the remains ‘juicy.’”

       141.    Upon information and belief, these articles were written without any investigation

or research being done beyond the authors simply accepting Mitchell’s originally proffered

falsities to avoid being called a racist themselves. Moreover, the goal of these articles was to

expand the reach of Mitchell’s false reality, and to aid and abet the intended implication that Dr.

Monge is an unethical, disrespectful, and racist anthropologist whose work cannot be trusted.

       142.    Sensing the start of a possibly viral social justice movement (albeit one based on

false and malicious untruths), other media sources were quick to jump on their horse and ride into

the battle Mitchell had created based on false and malicious lies. Almost immediately, a flurry of

news articles were published on widely accessible websites, all of which implying the bone

fragments were those of Katricia and Delisha Africa and falsely condemning Dr. Monge for racist,

unprofessional conduct without any basis therefore:

               (a)     On April 24, 2021, the New York Times published the article “Decades

After Police Bombing, Philadelphians ‘Sickened’ by Handling of Victim’s Bones” by Michael

Levenson. A copy of this article is attached hereto as Exhibit “F.” The article falsely identified the

bone fragments as the remains of Delisha Africa and defamatorily suggested that the treatment of

the remains showed “disrespect for Black life.” The article further stated “that the remains had

been kept in a cardboard box on a shelf” even though in reality the remains were stored at the Penn

Museum following forensic best practices at all times. As a worldwide leader in news coverage,




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the publishing of this article by the Times aided and abetted Mitchell and in turn the other

Defendants in their unlawful actions by increasing both the narrative’s exposure and legitimacy.7

                (b)    Two days later, on April 26, 2021, an article written by then freelance

writer, Defendant Nora McGreevy, and titled “Museum Kept Bones of Black Children Killed in

1985 Police Bombing in Storage for Decades,” was published by the Smithsonian Magazine. A

copy of this article is attached hereto as Exhibit “G.” That article also implied that Dr. Monge

acted unprofessionally and her actions were driven by a racist animus:

          “What’s more, the remains appear to have been used as a “case study” in an
          online course presented by Princeton University and hosted on Coursera.
          Titled “Real Bones: Adventures in Forensic Anthropology,” the class was
          recorded in 2019 and includes footage of Janet Monge, an adjunct professor
          in anthropology at the University of Pennsylvania and former student of
          Mann, picking up the bones and describing them in graphic detail. She makes
          no reference to the fact that the families of probable victims Tree and Delisha
          never provided consent for their daughters’ bones to be used in this way, the
          Guardian notes.”

The article also falsely asserted that the unidentified remains are those of Katricia and Delisha and

it suggests that a failure to contact their families constituted professional misconduct on the part

of Dr. Monge;

                (c)    On April 30, 2021, Defendant Slate published an article titled “The Grim

Open Secret of College Bone Collections” and authored by Elaine Ayers. A copy of that article is

attached hereto as Exhibit “H.” That article stated that Drs. Mann and Monge were driven by

racially based animus: “the physical anthropology departments like the ones that employ Mann

and Monge exist today as uneasy reminders of many museums’ and universities’ racist and

colonial foundations.” The Slate article further stated that the use of the terms “juicy” and “greasy”



7
  Though Dr. Monge’s claims against the New York Times for defamation, defamation by
implication, and false light were dismissed with prejudice, her claim for aiding and abetting was
not, and thus, it is discussed herein.

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by Dr. Monge reflect “most recent example of an ongoing legacy of Black people’s bodies used

for academic research and pedagogy,” declaring improper racial animus when in fact the terms are

anthropological terms of art properly used in anthropological instructional context;

                 (d)      On May 3, 2021, Defendant Al Día News published the article “There

Will Be No Justice For Penn and Princeton’s Treatment of MOVE Victims” authored by

Defendant Brittany Valentine. A copy of this article is attached hereto as Exhibit “I.” In the article,

Ms. Valentine falsely accused Drs. Monge and Mann of professional misconduct, stating

“[b]ombshell reports revealed the universities shuttled the remains back and forth, and used them

in educational settings without ever contacting next of kin”;

                 (e)      On May 7, 2021, Andscape, a popular website run by ESPN, published the

article “The Scandal Over the MOVE Bombing Victims’ Remains Is Part Of Anthropology’s

Racist History” authored by Defendant Nicole Froio. A copy of this article is attached hereto as

Exhibit “J.” The article blatantly reiterated the false narrative of the other articles and ascribed

suggested racist motivations for the investigatory actions of Dr. Monge:

             “The handling of the remains of the two MOVE bombing victims is certainly
             not, as Rouse noted, a “conspiracy.” The reality is much worse. The theft of
             Tree’s and Delisha’s bones indicates that despite attempts to purge academia
             and anthropology of colonial logics, they are baked into the structure. It is
             clear that there is still a belief in the field of anthropology that the remains of
             Black people are scientific objects to be studied or stored away in boxes rather
             than laid to rest by their families.”

Ms. Froio further alleged racist insensitivity by stating that “[i]n death, [Katricia and Delisha’s]

bones were used as objects of colonial plunder at academic institutions” and directly asserted that

Dr. Monge’s handling of the bone fragment remains was unethical, unprofessional, and racist;

       (f)       On May 16, 2021, The New Yorker published the article “Saying Her Name” by

Heather Ann Thompson. A copy of this article is attached hereto as Exhibit “K.” That article also



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falsely implied that the actions of Dr. Monge were unlawfully racist, stating that “the idea that the

museum was holding the bones of a Black Philadelphian who was alive as recently as 1985 in the

same way that it has held the skulls of enslaved people, procured by grave-robbers, was beyond

comprehension,” and she directly contradicted without any reason that the scientifically supported

findings of Drs. Mann and Monge that the bone fragment remains were not that of Katricia: (“The

remains that Mann claimed had never been satisfactorily identified had, in fact, been found to

belong to a teen-age girl who, along with her sister, died that day”);

                (g)    On May 18, 2021, the Philadelphia Inquirer published yet another article

regarding the treatment of the remains, this time authored by Jenice Armstrong and titled “The

Disrespectful Handling of the MOVE Victims’ Remains by the City and Penn Merits More

Investigation.” A copy of this article is attached hereto as Exhibit “L.” In the article, Armstrong

falsely implies unlawful and unprofessional racially motivated actions by Dr. Monge:

            “This latest atrocity is beyond horrible. The MOVE victims’ remains have
            been treated like laboratory specimens, passed from the University of
            Pennsylvania to Princeton University and then back to Penn. According to
            the Guardian, they were even included in a now-deleted video promoting a
            class called “Real Bones: Adventures in Forensic Anthropology”;

                (h)    On May 26, 2021, Andscape published a second article. The article, written

by Linn Washington, was titled ““Disrespect for the MOVE Families Is a Stain That Never Goes

Away in Philadelphia.” A copy of this article is attached hereto as Exhibit “M.” That published

piece article falsely states that Dr. Monge “mistreated” the unidentified remains of Katricia and

Delisha Africa and further falsely asserts that Mr. Monge’s actions were unprofessional and

unlawful:

            “Although the scandal caused Princeton to cancel that online course,
            anthropologist Janet Monge retains her positions at the Penn Museum and on
            the university’s faculty.”



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Ms. Washington then went on to suggest that Penn’s failure to remove Dr. Monge from her position

“renders the University of Penn’s apology hollow”;

               (i)        On July 16, 2021, Teen Vogue published the article ““MOVE Bombing

Remains Scandal Shows Enduring Racism in Anthropology” by Ezra Lerner. A copy of that article

is attached hereto as Exhibit “N.” That published writing suggested improper professional conduct

by implication by stating that “the remains of at least one young girl — believed to possibly

belonging to Tree as well as Delisha Africa, victims of the police’s 1985 bombing of the MOVE

house in Philadelphia — had been improperly kept for decades by archaeologists Alan Mann and

Janet Monge” and further defamatorily states that the handling of the remains was “unethical”;

               (j)        On October 31, 2021, Hyperallergic published the article ““How the

Possession of Human Remains Led to a Public Reckoning at the Penn Museum,” authored by

Kinjal Dave and Jake Nussbaum. A copy of this article is attached hereto as Exhibit “O.” Like its

predecessors, the article details the aftermath of the media firestorm, but falsely blames Dr. Monge

for a racially motivated investigation of the bone fragments, stating “Consuella did not consent to

Monge’s continued use of her daughter’s remains for research. Even after those objections, Monge

used Tree Africa’s remains for teaching.”

       143.    Each of the aforecited articles contain statements and/or implications that were

false, and the defendants either knew or should have known at the time of publication that they

were false because they were coming from Dr. Monge’s scorned former student, his girlfriend, and

his business associate.

       144.    But rather than seek to publish the truth, the defendants published the aforecited

articles for the sole purpose of lending credibility to Mitchell’s defamatory lies and increasing the

scope of his false narrative from the city of Philadelphia to the entirety of the world.



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        145.    Indeed, although a few articles in local news outlets might be construed as opinion,

those opinions become undeniably factual to the public when reported repeatedly by several trusted

news sources. Thus, the news created a false and malicious reality, with each of the articles

unlawfully aiding and abetting the false and actually malicious lies of Mr. Mitchell and the

University of Pennsylvania Defendants.

        D.      Amplification of The Media Reports and Dr. Monge’s Improper
                Demotion, Pay Cut, and Removal as a University Of
                Pennsylvania Faculty Member

        146.    Though Dr. Monge understood that the general public might not fully understand

her work and the respect and care she takes with each case before her, she assumed that at least

her fellow anthropologists, UPenn, and her fellow faculty members would defend the truth.

Unfortunately, they did not; instead, without any reasonable investigation, they blindly accepted

the statements fomented by Mitchell and the University of Pennsylvania and republished them as

fact to the public.

        147.    Dr. Monge could not even find safety in the professional community and university

where she had dedicated decades of her life. Specifically, on April 26, 2021, a collective statement

by the Association of Black Anthropologists (ABA), the Society of Black Archaeologists (SBA),

and the Black in Bioanthropology Collective (BiBA) released a statement (a copy of which is

attached hereto as Exhibit “P”) stating that they “condemn in the strongest possible language the

University of Pennsylvania, Princeton University, Coursera, along with Professors Alan Mann and

Janet Monge, for their horrific treatment of the remains of Tree and Delisha Africa, and for the

unfathomable heartlessness and disrespect shown towards the Africa family.” These statements

were intended to suggest that Dr. Monge had an unethical and illegal racially motivated animus

towards the remains that she works with.



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          148.   The groups further went on to state that their members were “outraged by the

stunning ethical indifference shown by all parties involved to both Tree and Delisha and to the

Africa family, but also by the fact that these entities effectively monetized the remains of Black

children murdered in a state terrorist attack – a fact made all the more painful given the heightened

public awareness of brutal murders of Black children and youth by the police over the past few

years.” The statement ended by requesting that Dr. Monge be removed from her position with the

University of Pennsylvania.

          149.   The University of Pennsylvania could have responded by defending their loyal

employee. Indeed, Penn has its own internal mechanism for determining whether faculty research

is appropriate – the Institutional Review Board – that could have investigated Dr. Monge’s

research and cleared her name. But upon information and belief, Penn never contacted the

Institutional Review Board to review the case. Instead, on the same day the ABA’s statement was

released, Penn locked Dr. Monge out of her lab and all Physical Anthropology collection storage

spaces.

          150.   Two days later, Defendants Gutmann and Prickett authored an email to employees

of the Penn Museum calling Dr. Monge’s actions “insensitive, unprofessional, and unacceptable.”

A similar statement authored by them was sent to the full University Pennsylvania community. As

Dr. Monge’s employer, Penn’s statements condemning her actions and implying impropriety aided

and abetted the defamatory actions of the other defendants by legitimizing their claims. Once Penn

asserted Mitchell’s false narrative as fact, there was simply no way to pull it back and return Dr.

Monge’s reputation to normal.




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       151.   Shortly thereafter the publication of the University’s condemnation of Dr. Monge,

the Chair of Penn’s Anthropology Department, Dr. Kathleen Morrison, told Dr. Monge that she

was being put on a “work pause” and would be removed from teaching any University classes.

       152.   Then, on May 4, 2021, Dr. Monge was informed that her scheduled summer

programs at the Penn Museum and scheduled high school talks for Penn were also being cancelled,

and the following day, Penn posted a call to action for the termination of Dr. Monge on its

Anthropology Department’s webpage.

       153.   In August 2021, Dr. Monge discovered that Penn had also removed her from the

department’s webpage where it lists the current “Graduate Group and Affiliated Faculty” and

shortly thereafter, she was informed that she would no longer be able to teach any of her current

classes, be an adjunct professor, or even be an associate curator at the Penn Museum, and was

being demoted to Museum Keeper.

       154.   This demotion was affected by a salary cut of $65,000 per year for the following

two years of her employment, upon which Penn would deem Dr. Monge as retired.

       155.   To date, three separate independent investigations have been conducted on the

handling of the unidentified remains from the MOVE bombing site, and none of the reports have

found that Dr. Monge violated any professional, ethical, or legal standards, nor have they

concluded that the bone fragments were those belonging to Katricia or Delisha Africa.

       156.   Based entirely upon the false and defamatory statements discussed above, Dr.

Monge’s reputation has been irreparably and wrongfully destroyed, and she has been forced to

remove herself as an author or co-author from several research articles on which she conducted

extensive research solely due to her fear that the work would be condemned as racist.




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       157.    Dr. Monge has also been the victim of adverse employment actions, and she has

received threatening emails and phone calls, including multiple death threats.

                                             COUNT I
                                         DEFAMATION
                   [Plaintiff vs. University Of Pennsylvania, Amy Gutmann,
                              Paul Mitchell, And Wendell Pritchett]

       158.    The Plaintiff incorporates by reference the preceding Paragraphs of this Complaint

as though fully set forth herein.

       159.    The statements of defendants, University of Pennsylvania, Amy Gutmann, Paul

Mitchell, and Wendell Pritchett described above are entirely false insofar as they reflect falsely

and unfavorably upon Plaintiff’s conduct as a professional, as well as her character and reputation.

Specifically, Mitchell’s statements created a false narrative that Dr. Monge was an unethical racist

whose work could not be trusted, and rather than investigate the truth and protect their faculty, the

University of Pennsylvania and its agents – including Gutmann and Pritchett – chose to legitimize

and perpetuate that false narrative through their own false statements.

       160.    Mitchell was fully aware that his allegations were false, but he made them anyway

based on a personal animus against Dr. Monge – namely, that she reported him for professional

and academic misconduct after several instances of inappropriate behavior.

       161.    The remaining defendants named in this Court published their own statements with

reckless disregard for their truth or falsity because they knew the allegations against Dr. Monge

were, a dedicated employee of the University for decades, were false, and the allegations Dr.

Monge had made against Mitchell were grounded in objective evidence. But faced with the

Hobson’s choice of going along with Mitchell’s plan or being tagged as racist along with Dr.

Monge, Penn and its Administrators knowingly chose the easy route and protected Mitchell and

his known lies, thereby joining in on his actual malice against Dr. Monge.


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        162.    The University’s favoritism towards Mitchell and animus towards Dr. Monge were

evidenced in Dr. Monge’s meeting with school officials when she lost her positions as Adjunct

Professor and Curator. Every transgression brought up by the school dealt with Dr. Monge’s

alleged unfair treatment of Mitchell even though Dr. Monge did nothing more than follow the

appropriate procedures when reporting Mitchell for misconduct.8

        163.    The defendants’ false and defamatory statements described above were widely

stated to others through published articles, published on the Penn website and circulated among

and readers across the globe.

        164.    The defendants’ false and defamatory statements described above applied to the

Plaintiff, were understood by the recipients of the statements to have a defamatory meaning and

were understood or reasonably understood by the recipients of the statements as intended to be

applied to the Plaintiff.

        165.    The defendants’ false and defamatory statements described above constitute

defamatory publications made with actual malice which are actionable per se and are libel per se,

as they cast doubt on Dr. Monge’s ability to perform in her chosen profession and suggest that Dr.

Monge has committed a crime by violating the civil rights of a deceased bombing victim and her

family based on race.

        166.    The defendants’ false and defamatory statements described above severely injured

and caused special harm to Plaintiff in that they have (a) ruined her reputation; (b) exposed her to




8
  The animus of Penn, Gutmann, and Pritchett is also evidenced by their conduct occurring after
the initiation of this litigation. On June 20, 2023, Dr. Monge received a letter, dated June 5, 2023,
that provided her with a performance increase in salary. Shortly thereafter, after Dr. Monge made
clear she would be filing a Second Amended Complaint, and in directly retaliation to that
forthcoming filing, Penn revoked the performance increased under the pretext that it was an
administrative error.

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hatred, contempt, ridicule, and humiliation; (c) ascribed to her characteristics incompatible with

the proper conduct of a professional anthropologist; and (d) injured her in the practice of her chosen

field.

         167.   As a direct and proximate result of the intentional, malicious, reckless, negligent,

and/or careless statements contained in the articles identified above, Plaintiff’s reputation and

esteem in the community have been adversely affected, third persons have been deterred from

working with her, and she has been forced to remove herself from research articles and other

scholarly papers for the sole reason that her employer falsely held her out to be a racist and

unethical anthropologist.

         168.   As a result of the aforementioned defamatory statements, Plaintiff has sustained,

and will sustain in the future, a loss of income and earning capacity.

         169.   As a further result of the aforementioned defamatory statements, Plaintiff has

sustained grave mental anguish, humiliation, and loss of her enjoyment of life.

         170.   The publication of the false and defamatory statements described above have been

and continue to be republished, and the plaintiff therefore demands presumed, compensatory,

economic, and punitive damages for the harm flowing from any and all such republications of the

false and defamatory statements in addition to damages for the harm flowing from their initial

publication.

         171.   The false and defamatory statements contained in the articles identified and

described above are not subject to any recognized privilege, and/or to the extent that any privilege

existed or could exist, the Defendants abused any such privilege.




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         172.   Due to the willful, wanton, intentional and malicious nature of the Defendants’

conduct, Plaintiff also demands an award of punitive damages in an amount to be determined at

trial.

         WHEREFORE, Plaintiff Janet Monge respectfully requests that the Court enter judgment

in her favor and against the Defendants in Count I, award the Plaintiff Janet Monge compensatory

and punitive damages in an amount in excess of the statutory minimum for arbitration, require

each of the Defendants to publish retractions of their defamatory statements and publicly apologize

to Dr. Monge for their defamatory actions, and grant such other and further relief as this Court

deems just and appropriate.

                                        COUNT II
                            DEFAMATION BY IMPLICATION
[Plaintiff vs. University Of Pennsylvania, Amy Gutmann, Paul Mitchell, Billy Penn, Maya
Kasutto, The Philadelphia Inquirer PBC, Abdul Aily Muhammad, ESPN D/B/A Andscape,
Nicole Froio, American Anthropological Association, Slate, Elain Ayers, Teen Vogue, Ezra
    Lerner, Hyperallergic Media, Kinjal Dave, Nora McGreevy, Al Dia News, Brittany
   Valentine, Wendell Pritchett, Jenice Armstrong, Linn Washington, Jake Nussbaum]

         173.   The Plaintiff incorporates by reference the preceding Paragraphs of this Complaint

as though fully set forth herein.

         174.   The statements made by the defendants contained in the aforementioned articles

constitute defamation by implication, in that their context was such that, although the statements

may be construed as literally true, those statements create an overall false and defamatory

impression of Dr. Monge.

         175.   The articles identified above did so by maliciously, intentionally, recklessly, and

falsely, by words, innuendo, inference, and manner in which they were presented, held Dr. Monge

out to public scorn and ridicule, attributed improper conduct to Dr. Monge, and cast doubt on Dr.

Monge’s ability to properly carry out the responsibilities of her job and chosen profession.



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Specifically, all of the above articles can be read by the average reader as carrying the implication

that Dr. Monge was an unethical racist whose work could not be trusted.

       176.    The defendants in Count II published these articles intentionally or recklessly

aiding and abetting Mitchell’s false “cancel culture” movement against Dr. Monge to amplify a

potentially “viral” news story to increase their viewership and revenue. Upon information and

belief, they conducted no investigation as to the allegations made by Mitchell and in the other

defendants’ articles, nor did they care to do so. Rather, their only intention was to create a story

that would rile up the public against the purported wrongdoing of Dr. Monge. In doing so, the

defendants published their false and defamatory statements with reckless disregard for whether the

material was false, and this conduct constitutes actual malice.

       177.    The false and defamatory statements described above and contained in the articles

identified were in no manner privileged nor did the articles constitute fair comment on matters of

public concern or interest. Indeed, there was no public concern whatsoever over Dr. Monge’s

professional handling of the unidentified Jane Doe Fragments until Mitchell’s false narrative,

accelerated by the other defendants’ publications, cast her into the public light as a racist despite

those allegations being false.

       178.    Dr. Monge is not, and has never been, either a general or limited purpose public

figure.9 She has never been recognizable to the general public, did not thrust herself to the forefront

of any public controversy, or create the public controversy falsely reported on by the defendants.

She was a forensic physical/biological anthropologist, professor, and researcher who worked in




9
  Though this Honorable Court has found Dr. Monge to be a limited purpose public figure in a
limited number of rulings on Defendants’ Motion to Dismiss, there was no analysis of this issue
in many of the decisions, and thus, Dr. Monge respectfully asserts that she cannot be a limited
purpose public figure under the law.

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her lab, outside of the spotlight, to restore humanity to the remains before her. It was only after

Mitchell’s smear campaign, aided and abetted by the other defendants that Dr. Monge ever became

known.

         179.   The statements and implications set forth above constitute defamatory publications

which are actionable per se, are libels per se, and were published with actual malice.

         180.   The false and defamatory statements described above and contained in the articles

identify severely injured and caused special harm to Plaintiff in that they have (a) ruined her

reputation; (b) exposed her to hatred, contempt, ridicule, and humiliation; (c) ascribed to her

characteristics incompatible with the proper conduct of a professional anthropologist; and (d)

injured her in the practice of her chosen field.

         181.   As a direct and proximate result of the intentional, malicious, reckless, negligent,

and/or careless statements contained in the articles identified above, Plaintiff’s reputation and

esteem in the community have been adversely affected, third persons have been deterred from

working with Plaintiff, Plaintiff has sustained (and will sustain in the future) a loss of income and

earning capacity, and Plaintiff has sustained grave mental anguish, humiliation, and loss of her

enjoyment of life.

         182.   The publication of the false and defamatory statements and those contained in the

articles identified and described above have been and continue to be republished, and the plaintiff

therefore demands presumed, compensatory, economic, and punitive damages for the harm

flowing from any and all such republications of the false and defamatory statements in addition to

damages for the harm flowing from their initial publication.




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          183.   Due to the willful, wanton, intentional and malicious nature of the Defendants’

conduct, Plaintiff also demands an award of punitive damages in an amount to be determined at

trial.

          WHEREFORE, Plaintiff Janet Monge respectfully requests that the Court enter judgment

in her favor and against the Defendants named in Counts I and II, award the Plaintiff Janet Monge

compensatory and punitive damages in an amount in excess of the statutory minimum for

arbitration, require each of the Defendants to publish retractions of their defamatory statements

and publicly apologize to Dr. Monge for their defamatory actions, and grant such other and further

relief as this Court deems just and appropriate.

                                         COUNT III
                                       FALSE LIGHT
 [Plaintiff vs. University Of Pennsylvania, Amy Gutmann, Paul Mitchell, Billy Penn, Maya
   Kasutto, ESPN D/B/A Andscape, Nicole Froio, Guardian Media Group, Ed Pilkington,
  Daily Mail And General Trust PLC, Adam Schrader, Slate, Elain Ayers, NYP Holdings
  Inc., Jackson O’Bryan, Teen Vogue, Ezra Lerner, Wendell Pritchett, Linn Washington]

          184.   The Plaintiff incorporates by reference the preceding Paragraphs of this Complaint.

          185.   The aforementioned statements and articles, made and published without regard to

their truth or falsity, also created false impressions by repeatedly, widely, and extensively

publicizing information which stated or implied falsehoods about Plaintiff and placed her before

the public in a false light of a kind highly offensive to a reasonable person.

          186.   The statements were made public by Defendants, in that they were published in

print and on websites accessible by the public at large and to so many persons that the matter must

be regarded as public knowledge.

          187.   The statements included major misrepresentations of the Plaintiff’s character,

conduct and activities, and are highly offensive to the Plaintiff, as they would be to any reasonable

person.


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        188.    The misrepresentations contained in the statements were in no manner privileged

nor did they constitute fair comment on matters of public concern or interest. Indeed, there was no

public concern whatsoever over Dr. Monge’s professional handling of the unidentified bone

fragments until Mitchell’s false narrative, accelerated by the other defendants’ publications, cast

her into the public light as a racist despite those allegations being false.

        189.    The misrepresentations contained in the statements for published solely to join in

enhance and aid and abet Mitchell’s “cancel culture” movement against Dr. Monge and amplify a

potentially “viral” news story to increase viewership and revenue. Upon information and belief,

defendants conducted no investigation as to the allegations made by Mitchell and in the other

defendants’ articles, nor did they care to do so. Rather, their only intention was to create a story

that would get clicks and rile up the public. In doing so, the defendants published their

misrepresentations with reckless disregard for whether the material was false – this conduct

constitutes actual malice.

        190.    The statements were published to the general public on websites accessible

anywhere in the United States and throughout the world, and they are continuously available to

the general public on Defendants’ websites.

        191.    As a result of these statements, the Plaintiff suffered severe harm to her interest in

privacy, as well as significant damages in the form of severe monetary loss, economic and

consequential damages discussed above, severe and irreparable impairment of her reputation and

credibility in the community generally, and personal humiliation, mental anguish and mental

suffering.

        WHEREFORE, Plaintiff Janet Monge respectfully requests that the Court enter judgment

in her favor and against the Defendants named in Counts I, II and II, award the Plaintiff Janet



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Monge compensatory and punitive damages in an amount in excess of the statutory minimum for

arbitration, require each of the Defendants to publish retractions of their defamatory statements

and publicly apologize to Dr. Monge for their defamatory actions, and grant such other and further

relief as this Court deems just and appropriate.

                                            COUNT IV
                                 CIVIL AIDING AND ABETTING
                                   [Plaintiff vs. All Defendants]

       192.    The Plaintiff incorporates by reference the preceding Paragraphs of this Complaint.

       193.    The behaviors in which the Defendants engaged aided and abetted the tortious

misconduct of each of the other defendants by giving rise to false and defamatory information

against Dr. Monge in a concerted effort to accomplish the particular result of branding Mr. Monge

as incompetent in her chosen field and a racist.

       194.    When each of the Defendants published their defamatory statements, they knew or

should have known through reasonable diligence that the conduct of each of them was tortious and

provided substantial assistance and/or encouragement to the original wrong doers to engage in

such tortious misconduct.

       195.    Yet despite this, the defendants conducted no investigation as to the allegations

made by Mitchell and in the other defendants’ articles, nor did they care to do so. Rather, they

simply wanted to publish a story that would get clicks by enraging the public. In doing so, they

lent legitimacy on the false narrative being pushed, and allowed that false narrative to be read by

a much wider audience, thereby assisting in the initial tortious actions taken by Mitchell and his

then-girlfriend and associate.




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       196.     As a result of Defendants’ conduct aiding and abetting the tortious misconduct of

the other Defendants, Plaintiff has suffered and continues to suffer harm to her reputation,

humiliation, severe emotional distress, and financial harm,

       197.     Defendants’ conduct in aiding and abetting such tortious conduct was so reckless,

wanton, willful, and malicious that Defendants should be punished by the assessment of punitive

damages.

       WHEREFORE, Plaintiff Janet Monge respectfully requests that the Court enter judgment

in her favor and against the Defendants named in Counts I, II, III and IV, award the Plaintiff Janet

Monge compensatory and punitive damages in an amount in excess of the statutory minimum for

arbitration, require each of the Defendants to publish retractions of their defamatory statements

and publicly apologize to Dr. Monge for their defamatory actions, and grant such other and further

relief as this Court deems just and appropriate.



                                              Respectfully Submitted,

                                              SPECTOR GADON ROSEN VINCI P.C.

                                      By:/s/ Alan Epstein
                                              Alan B. Epstein, Esquire (Pa. Atty ID No. 2346)
                                              Adam Filbert, Esquire (Pa. ID No. 330960)
                                              Attorneys for Plaintiff

July 28, 2023




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